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Exhibit B

Settlement Agreement

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AGREEMENT BETWEEN IIOR, INC. AND SOUTHERN JONICS INCORPORATED

This settlement agreement (the “Settlement Agreement”) is entered into as of June 3,
2015, by and among KiOR, Inc. (the “Debior’) on the one hand, and Southern Jonics
Incorporated (SIP), on the other hand. The Debtor and SIT may be referenced herein as the
“Parties” and/or each as a “Party,”
BACKGROUND
WHEREAS, on August 29, 2011, the Parties entered into that certain Amended and

Restated Lease Agreement (as amended, the “Lease”) whereby SH agreed to lease to the Debtor

certain real property in Harris County, Texas (the “Premises”), upon which Debtor would
construct ceriain improvements, with an initial term ending August 21, 2016;

WHEREAS, on November 9, 2014 (the “Petitien Dale"), the Debtor filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
in the United States Bankruptcy Court for the District of Delaware (the “Court”}, case number
14-12514 (CSS);

WHEREAS, the Debtor proposed its Second Amended Chapter 11 Plan of
Reorganization, as revised April 7, 2015 (as amended, the “Plan”) (Doc. No. 470) in an effort to,
among other things, preserve the Debtor’s business as a going concern, to retain the Debtor's
employees and assets, and to reorganize the Debtor’s capital structure through a debt-to-equity
conversion;

WHEREAS, SIi has alleged that the Debtor is currently in default with respect to certain

of its obligations under the Lease;

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WHEREAS, pursuant to the Plan, the Reorganized Debtor’ shall cure any default in
respect of each of the Assumed Contracts, to the extent required under section 365(b) of the
Bankruptcy Code, unless otherwise agreed to between the Parties;

WHEREAS, the Debtor wishes to assume the Lease; and

WHEREAS, to resolve informal objections and concerns raised by STI related to, among
other things, the cure obligations associated with the assumption of the Lease as part of
confirmation of the Plan, the Parties engaged in good faith, arms’ length negotiations to resolve
the foregoing disputes in their entirety.

NOW THEREFORE, in consideration of the foregoing recitals (which are incorporated
and made part of this Settlement Agreement), the respective representations, warranties,
covenants, and agreements set forth herein, and for other good and valuable consideration, the
receipt, adequacy, and sufficiency of which are hereby expressly acknowledged by the Parties,
the Parties covenant and agree as follows:

1. Payment. On the Effective Date, as that term is defined in the Plan, the Debtor
shali pay to SII the total sum of $440,183.80 (the “Total Cure Amount”). The Total Cure
Amount shall be allocated as follows:

(a) $198,648.00 represents the original cure amount set forth in the Debtor’s cure
schedule. See Notice of Cure Amount, Docket No. 560.

(b) $11,073.01 represents the cure amount for November utilities due and owing;

(c) $45,462.74 represents reimbursement to SII for tax obligations SII paid on the
Debtor’s behalf pursuant to Paragraph 8 of the Lease for a pro rata share of
the real property taxes (with a calculation based on the share of the leased

Premises to the entire SII owned premises} related to the Premises;

' All capitalized terms not defined herein shall have the meanings ascribed to them in the Plan.

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(d) $25,000.00 is a payment to satisfy in full all attorneys’ fees owed by the
Debtor related to the Lease and the bankruptcy proceeding of the Debtor; and

(ec) $160,000.00 shall be reserved as a security deposit (the “Security Deposit”),
which shall be maintained pursuant to the terms of an agreed form of lease
amendment.

2. Taxes. The Debtor shall pay 2015 taxes when they become due, including its pro
rata portion of real property taxes (following the submission by SI] of an invoice of the taxes due
and the calculation of same), The Debtor shall pay all 2014 taxes as set forth in the Plan. Sil
reserves its rights as to the 2014 and 2015 taxes fo the extent they are not paid in accordance
with the Plan.

3. Plan Confirmation. SII shall not object to confirmation of the Plan or the
assumption of the Lease. The existence of this Settlement Agreement shal! be referenced in the
Court’s order confirming the Plan, and this Settlement Agreement shall be annexed thereto.

4. Amendment to Lease. The Parties shall cxecute an amendment to the Lease
which will provide for the terms of the Security Deposit reflected above along with the
calculation and mechanism for the payment of real property taxes under the terms of the Lease.
‘The Parties shall exercise good faith in the preparation and execution of such amendment.

5. Ordinary Course Obligations. Debtor shall continue to fulfill its obligations
pursuant to the Lease in the ordinary course, which obligations include, but are not limited to
making payment for June rent and April, May and June utilities, which remain outstanding as of
the date of this Settlement Agreement.

6, Authority. Each person signing this Settlement Agreement represents and

warrants that he/she has been duly authorized and has the requisite authority to execute and

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deliver this Settlement Agreement on behalf of such Party and to act with respect to the rights
and claims that are being altered or otherwise affected by this Settlement Agreement.

7. No Reliance. The Parties represent and acknowledge that, in executing this
Settlement Agreement, they do not rely and have not relied upon any representation or statement
made by any Party or any of their agents, shareholders, representatives or attorneys, with regard
to the subject matter, basis or effect of this Settlement Agreement or otherwise, other than as
specifically stated in this Settlement Agreement.

3. Settlement Based on Partics’ Judgment. The Parties further declare that, in
making this Settlement Agreement, they rely entirely upon their own judgment, beliefs and
interest and the advice of their counsel and that they have had a reasonable period of time to
consider this Settlement Agreement.

9, Binding Nature. This Settlement Agreement shall be binding upon and inure to
the benefit of the Parties, their respective heirs, executors, successors, administrators and assigns.
This Settlement Agreement shall be a final calculation of any and all amounts due under the
Lease as of the Petition Date along with any unpaid, past due amounts as of the Effective Date of
the Plan, and all currently existing claims or alleged defaults by STI are resolved in full by the
terms of this Settlement Agreement, provided, however, this assumes that the Debtor shall
continue to fulfill its post-Petition Date obligations under the Lease in the ordinary course.

10. Entire Agreement. This Settlement Agreement incorporates the Lease, which
shall remain in full force and effect. Thus, this Settlement Agreement sets forth the entire
agreement between the Parties and fully supersedes any and all prior agreements and
understandings, written or oral, between the Parties pertaining to the subject matter hereof.

11. Counterparts. This Settlement Agreement may be executed in one or more

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counterparts, including by facsimile and/or electronic mail, each of which shall be deemed an
original, but all of which together constitute one and the same instrument.

12. Submission to Jurisdiction. The Parties agree that any dispute or controversy
arising hereunder shall be determined by the Bankruptcy Court, which shall have exclusive

jurisdiction over same.

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IT WITNESS WHEREOF, this Settlement Agreement is hereby executed as of the date

set forth above:

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SOUTHERN IONICS INCORPORATED

BY:

KGOR, ric.

BY: | 0 ' ft
Shri pt iver, President, Interim
Chief Fi ifficer, and. General
Counsel
